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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        FILE No.
7127 SPENCER ASSOC., LLC,                            )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, 7127 SPENCER ASSOC., LLC, pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



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       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

       7.      Defendant, SANUAANU INC. (hereinafter “SANUAANU INC.”), is a Texas

company that transacts business in the State of Texas and within this judicial district.

       8.      Defendant, SANUAANU INC., may be properly served with process via its

registered agent for service, to wit: Saniya M. Maknojia, Registered Agent, 803 Valley Ridge

Drive, Richmond, TX 77469.

       9.      Defendant, 7127 SPENCER ASSOC., LLC (hereinafter “7127 SPENCER

ASSOC., LLC”), is a Texas limited liability company that transacts business in the State of

Texas and within this judicial district.

       10.     Defendant, 7127 SPENCER ASSOC., LLC, may be properly served with process

via its registered agent for service, to wit: Capitol Corporate Services, Inc., Registered Agent,

206 E. 9th Street, Suite 1300, Austin, TX 78701.




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                                  FACTUAL ALLEGATIONS

       11.     On or about December 26, 2019 and again on May 11, 2020, Plaintiff was a

customer at “Express Food Store” a business located at 7127 Spencer Highway, Pasadena, TX

77505, referenced herein as “Express Food Store”.         Attached is a receipt and photograph

documenting Plaintiff’s purchase and visit of December 26, 2019. See Exhibit 1. Also attached

is a receipt and photograph documenting Plaintiff’s purchase and visit on May 11, 2020. See

Exhibit 2.

       12.     Defendant, 7127 SPENCER ASSOC., LLC, is the owner or co-owner of the real

property and improvements that Express Food Store is situated upon and that is the subject of

this action, referenced herein as the “Property.”

       13.     Plaintiff lives 9 miles from Express Food Store and the Property.

       14.     Plaintiff’s access to the business(es) located at 7127 Spencer Highway, Pasadena,

TX     77505, Harris County Property Appraiser’s account number 0211570000078 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of disabilities, and he will be denied and/or limited in the future unless and until

Defendant, 7127 SPENCER ASSOC., LLC, is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

       15.     Defendant, 7127 SPENCER ASSOC., LLC, as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, 7127 SPENCER ASSOC., LLC and the tenant

allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is



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only between the property owner and the tenant and does not abrogate the Defendant’s

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

          16.   Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months or sooner, as soon

as the barriers to access detailed in this Complaint are removed and the Property is accessible

again. The purpose of the revisit is to be a regular customer, to determine if and when the

Property is made accessible and to maintain standing for this lawsuit for Advocacy Purposes.

          17.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

regular customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          18.   Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access at the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the the Property.

                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

          19.   On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          20.   Congress found, among other things, that:

          (i)   some 43,000,000 Americans have one or more physical or mental
                disabilities, and this number is increasing as the population as a whole is
                growing older;


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       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       21.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       22.      The congressional legislation provided places of public accommodation one and



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a half years from the enactment of the ADA to implement its requirements.

       23.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       24.     The Property is a public accommodation and service establishment.

       25.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       26.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       27.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       28.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer of the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       29.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,



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dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Defendant, 7127 SPENCER ASSOC., LLC, has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       31.     Defendant, 7127 SPENCER ASSOC., LLC, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, 7127 SPENCER ASSOC., LLC,

is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.

       32.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Near Bizarre Bazaar, the access aisle adjacent to the accessible parking space has

               a slope in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG




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         standards and are not level. This violation would make it dangerous and difficult

         for Plaintiff to exit and enter their vehicle while parked at the Property.

 (ii)    Near Bizarre Bazaar, the accessible parking space is missing a proper

         identification sign in violation of Section 502.6 of the 2010 ADAAG standards.

         This violation would make it difficult for Plaintiff to locate an accessible parking

         space.

 (iii)   Near Bizarre Bazaar, there is a vertical rise of 1 inch in height at the base of the

         accessible ramp in violation of Sections 303.2 and 405.4 of the 2010 ADAAG

         standards. This violation would make it dangerous and difficult for Plaintiff to

         access public features of the Property.

 (iv)    Near Bizarre Bazaar, due to a policy of placing a trash can in the exterior

         accessible route, there are publicly accessible areas of the Property having

         accessible routes with clear widths below the minimum 36 (thirty-six) inch

         requirement as required by Section 403.5.1 of the 2010 ADAAG

         standards. This violation would make it dangerous and difficult for

         Plaintiff to access exterior public features of the Property.

 (v)     Due to a policy of placing a trash can in the exterior accessible route Property

         lacks an accessible route connecting accessible facilities, accessible elements

         and/or accessible spaces of the Property in violation of Section 206.2.2 of the

         2010 ADAAG standards. This violation would make it difficult for Plaintiff to

         access public features of the Property.

 (vi)    There are changes in level in the Property exceeding ½ (one-half) inch that are not

         accessible ramped in violation of Section 303.4 of the 2010 ADAAG standards.



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          Specifically, there is an approximately 1-1/2 inch vertical rise at the accessible

          entrances to multiple units of the Property (Unit 100, Pho Vivi, Q-Nails, and

          Texas Donut), thus rendering the interior of the Property at these units, at best,

          dangerously accessible, at worst, totally inaccessible. This violation would make

          it dangerous and difficult for Plaintiff to access the units of the Property.

 (vii)    Near Express Food Store, the accessible parking spaces and associated access

          aisle have a slope in excess of 1:48 in violation of Section 502.4 of the 2010

          ADAAG standards and are not level. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (viii)   Near Express Food Store, the access aisle to the accessible parking space is not

          level due to the presence of an accessible ramp in the access aisle in violation of

          Section 502.4 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

          the Property.

 (ix)     Near Express Food Store, the accessible curb ramp is improperly protruding into

          the access aisle of the accessible parking space in violation of Section 406.5 of the

          2010 ADAAG Standards. This violation would make it difficult and dangerous

          for Plaintiff to exit/enter their vehicle.

 (x)      Near Express Food Store, the accessible parking space is not level due to the

          presence of accessible ramp side flares in the accessible parking space in violation

          of Sections 502.4 and 406.5 of the 2010 ADAAG standards. This violation would

          make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

          parked at the Property.



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 (xi)     Near Express Food Store, the accessible parking space is missing a proper

          identification sign in violation of Section 502.6 of the 2010 ADAAG standards.

          This violation would make it difficult for Plaintiff to locate an accessible parking

          space.

 (xii)    Inside Express Food Store, there are sales and services counters lacking any

          portion of the counter that has a maximum height of 36 (thirty-six) inches from

          the finished floor in violation of Section 904.4 of the 2010 ADAAG standards, all

          portions of the sales and service counter exceed 36 (thirty-six) inches in height

          from the finished floor. This violation would make it difficult for Plaintiff to

          properly transact business at the Property.

 (xiii)   Inside Express Food Store, the vertical reach to the soda dispensers exceeds the

          maximum allowable height of 48 (forty-eight) inches above the finish floor or

          ground in violation of Section 308.3.1 of the ADAAG standards. This violation

          would make it difficult for Plaintiff to property utilize public features of the

          Property.

 (xiv)    Defendant fails to adhere to a policy, practice and procedure to ensure that all

          facilities are readily accessible to and usable by disabled individuals.

 RESTROOMS

 (i)      The restroom lacks signage in compliance with Sections 216.8 and 703 of the

          2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

          disabled individual to locate accessible restroom facilities.




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       (ii)    The restrooms lack proper door hardware in violation of Section 404.2.7 of the

               2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

               disabled individual to utilize the restroom facilities.

       (iii)   The restrooms have grab bars adjacent to the commode which are not in

               compliance with Section 604.5 of the 2010 ADAAG standards as the rear bar is

               missing. This would make it difficult for Plaintiff and/or any disabled individual

               to safely utilize the restroom facilities.


       (iv)    Restrooms have a sink with inadequate knee and toe clearance, due to the

               presence of a bar in front of the sink, in violation of Section 306 of the 2010

               ADAAG standards. This would make it difficult for Plaintiff and/or any disabled

               individual to safely utilize the restroom facilities.

       (v)     The controls on the faucets require pinching and turning of the wrists in violation

               of Section 309.4 of the 2010 ADAAG standards. This would make it difficult for

               Plaintiff and/or any disabled individual to utilize the restroom facilities.

       (vi)    The mirror in the bathrooms exceeds the maximum height (the bottom edge of the

               reflective surface exceeds 40 inches from the floor) permitted by Section 603.3 of

               the 2010 ADAAG standards. This violation would make it difficult for the

               Plaintiff and/or any disabled individual to properly utilize public features of the

               restroom.

       33.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       34.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.


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        35.      The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

        36.      All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

        37.      Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

        38.      Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, 7127

SPENCER ASSOC., LLC, has the financial resources to make the necessary modifications as the

Property is valued at $954,743 according to the property appraiser web site.

        39.      Upon information and good faith belief, the Property have been altered since

2010.

        40.      In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

        41.      Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

7127 SPENCER ASSOC., LLC, is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

        42.      Plaintiff’s requested relief serves the public interest.



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         43.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, 7127 SPENCER ASSOC., LLC.

         44.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, 7127 SPENCER ASSOC., LLC, pursuant to 42 U.S.C. §§ 12188 and

12205.

         45.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, 7127

SPENCER ASSOC., LLC, to modify the Property to the extent required by the ADA.

         WHEREFORE, Plaintiff prays as follows:

         (a)   That the Court find Defendant, 7127 SPENCER ASSOC., LLC, in violation of the

               ADA and ADAAG;

         (b)   That the Court issue a permanent injunction enjoining Defendant, 7127

               SPENCER ASSOC., LLC, from continuing their discriminatory practices;

         (c)   That the Court issue an Order requiring Defendant, 7127 SPENCER ASSOC.,

               LLC, to (i) remove the physical barriers to access and (ii) alter the subject

               Property to make it readily accessible to and useable by individuals with

               disabilities to the extent required by the ADA;




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 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: August 1, 2020.

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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                                     Attorney-in-Charge for Plaintiff
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